Case 1:16-cv-01580-CMH-JFA Document 144 Filed 11/14/17 Page 1 of 1 PageID# 8188




                          ** BENCH TRIAL MINUTES **


 Date: 11/14/17                                        Judge: Hilton
                                                       Reporter: R. Montgomery
 Time: 10:00–11:30; 11:45-1:00;
 2:15-3:45; 4:00-5:15

 Civil Action Number: 1:16cv1580

                             Halozyme, Inc. vs. Joseph Matal

         Counsel for Plaintiff                Counsel for Defendants
         Joshua Rogaczewski                   Dennis Barghaan
         William Gaede                        Thomas Krause
         Mandy Kim                            Kakoli Caprihan
                                              Amy Nelson
                                              Frances Lynch

 Appearance of Counsel.

 Plaintiff continued to adduce evidence and rests.

 Defendant’s Motion for Judgment as a Matter of Law – Taken under advisement.

 Defendant adduced evidence.

 Bench Trial continued to Wednesday 11/15/2017 @ 10:00.
